                                                                                       ____FILED___ENTERED
                                                                                       ____LOGGED_____RECEIVED
                                                                                       
                       IN THE UNITED STATES DISTRICT COURT                            4:02
                                                                                            pm, Jan 27 2025
                                                                                       ATBALTIMORE
                          FOR THE DISTRICT OF MARYLAND                                 CLERK,U.S.DISTRICTCOURT
                                                                                       DISTRICTOFMARYLAND
                                                                                       BY______________Deputy
IN THE MATTER OF THE CRIMINAL                                     25-mj-0186-EA
                                                         Case No. ____________________
COMPLAINT AND ARREST WARRANT FOR
DAZHON LESLIE DARIEN



                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Special Agent Grace Meyer, being first duly sworn, hereby depose and state as follows:

                               PURPOSE OF THE AFFIDAVIT

       1.      I make this affidavit in support of an application for a criminal complaint charging

DAZHON LESLIE DARIEN (“DARIEN”) with 18 U.S.C. § 2251(a) and (e) (sexual exploitation

of children); and 18 U.S.C. § 2252A(a)(2) (receipt of child pornography) (collectively the

“TARGET OFFENSES”). Based on the facts set forth in this affidavit, there is probable cause to

believe that DARIEN has committed TARGET OFFENSES.

                                  AFFIANT BACKGROUND

       2.      I am a Special Agent of the FBI and have been so employed since February 2023.

As such, I am an officer of the United States who is empowered by law to conduct investigations

of and to make arrests for offenses enumerated in Titles 18 and 21 of the United States Code. I

am currently assigned to the FBI Child Exploitation and Human Trafficking Task Force in

Baltimore, Maryland. I have duties that include investigations of federal violations concerning

child pornography and the sexual exploitation of children. I have participated in the execution of

multiple search warrants, which have resulted in the seizure of computers, cell phones, electronic

media, and other items evidence violations of federal laws. I have also participated in the execution
of search warrants for online accounts, such as email accounts, online storage accounts, and other

online communication accounts related to child exploitation and/or child pornography.

       3.      I have set forth only the facts I believe are necessary to establish probable cause for

the warrants sought herein. The information contained in this affidavit is based upon my personal

knowledge, my review of documents and official police reports, interviews with witnesses and

victims, my review of evidence, and my conversations with other law enforcement officers and

other individuals.

                                      PROBABLE CAUSE

       4.      On March 7, 2024, investigators with the Baltimore County Police Department

(“BCPD”) executed search and seizure warrants authorized by the Honorable Keith Truffer,

Circuit Court Judge for Baltimore County, for DARIEN’s residence, which was located at 132

South Newkirk Street, Baltimore, Maryland 21224 and two vehicles associated with DARIEN.

DARIEN was present at the residence. During the searches, BCPD located and seized various

electronic devices and removable storage media believed to be used or owned by DARIEN,

including an Apple iPhone 14 Pro Max that was located by in DARIEN’s bedroom.

       5.      On April 4, 2024, the Honorable J. Mark Coulson, United States Magistrate Judge

for the District of Maryland, issued search warrants for various electronic devices, including an

Apple iPhone 14 Pro Max, that was seized from DARIEN’s bedroom. Due to the encrypted state

of the Apple iPhone 14 Pro Max, it was unable to be extracted and examined immediately after

the execution of the search warrant for the devices.

       6.      Further investigation resulted in the identification of three Google accounts, which

included darienspau@gmail.com, ddarien522@gmail.com, and dareinspau@gmail.com, and two



                                                 2
Apple iCloud accounts, Apple ID ddarien522@gmail.com and Apple ID deccoy27@yahoo.com,

owned and used by DARIEN.

           7.      On April 30, 2024, the Honorable J. Mark Coulson, United States Magistrate Judge

for the District of Maryland, issued a search warrant for Google accounts darienspau@gmail.com,

ddarien522@gmail.com, and dareinspau@gmail.com. On May 29, 2024, the Honorable Erin

Aslan, United States Magistrate Judge for the District of Maryland, issued a search warrant for the

Apple iCloud accounts with Apple IDs ddarien522@gmail.com and deccoy27@yahoo.com.

           8.      During my review of the files provided by Google for the accounts

darienspau@gmail.com, ddarien522@gmail.com, and dareinspau@gmail.com, I observed several

media files depicting teenage males of indeterminate ages engaged in sexually explicit conduct as

well as what appeared to be a screenshot of a text message conversation taken on an Apple iPhone

indicative of coercion or enticement of a minor to engage in sexual activity for review. These files

are described below:

                   a.      A video file (“Video File 1”) with EXIF Creation Date of “November 3,

2023” and the Device Manufacturer and Model as “Apple iPhone.” This video is 18-seconds in

duration, and depicted a teenage male of an indeterminate age naked below the waist. The male is

bent over a bed, with anus, scrotum, and penis exposed. At the end of the video, the male’s face is

partially depicted.

                   b.      A video file (“Video File 2”) with EXIF Creation Date “February 29, 2024”

and the Device Manufacturer and Model as “Apple iPhone.”1 This video is 38-seconds in duration,

and depicted a teenage male of an indeterminate age in what appears to be a bedroom with



1
    During the search of DARIEN’s residence, BCPD located and seized two Apple iPhones that belonged to DARIEN.

                                                        3
decorative lights on the walls. The male is naked from the waist down, bent over a bed, with his

anus, scrotum, and penis exposed, masturbating his erect penis.

               c.     A video file (“Video File 3”), with EXIF Creation Date of “February 3,

2024” and the Device Manufacturer and Model as “Apple iPhone.” This video is 14 seconds in

duration and depicts the mid-section of a teenage male who appears to be of indeterminate age like

the males depicted in the two videos described above, lying on his back. During the video, the

male lifts his shirt, exposing his stomach, and pulls down his pants and underwear, exposing his

penis. While the camera is focused on the male’s penis, he touches his penis with his right hand

and shakes it for several seconds, as if to display it to the camera. At the end of the video, the

male’s face is observed. Based on my training and experience, as well as my consultation with

other investigators, I am aware that Apple iPhones have screen record functions. When these

screen recordings are saved onto a device, the file names begin with “RPReplay_Final.” Based on

this information, I believe Video File 3, the file name of which begins with “RPReplay_Final,”

was screen recorded on an Apple iPhone.

               d.     An image file (“Image File 4”), with EXIF data listing the File Creation

Date as “January 28, 2024” and the Device Manufacturer as “Apple Computer, Inc.” This image

depicted a screenshot of a text message conversation, dated between “November 10” and

“November 11,” between “Zay” and another individual, later identified as Minor Victim 2, and is

depicted immediately below.




                                                4
       9.      An open-source query for DARIEN’s telephone number, xxx-xxx-3868, revealed

the telephone number is associated with a Snapchat account with username “zaymajor22” and

display name “Xavier Major.”

       10.     Immediately after viewing Video File 3, which depicted a teenage male who

appears to be of indeterminate age engaged in sexually explicit conduct, and Image File 4, I ceased

my review of the Google files to prepare an affidavit in support of search warrants authorizing the

further search of the Google accounts darienspau@gmail.com, ddarien522@gmail.com, and

dareinspau@gmail.com, the Apple iCloud accounts with Apple IDs ddarien522@gmail.com and

deccoy27@yahoo.com, and the electronic devices including the Apple iPhone 14 Pro Max for

evidence, fruits, and instrumentalities of violations of 18 U.S.C. § 2422 (coercion and enticement)

and 18 U.S.C. § 2252(A)(a)(5)(B) (possession of child pornography) from this Court. On June 12,

2024, the Honorable A. David Copperthite, United States Magistrate Judge for the District of

Maryland, issued these search warrants. Shortly thereafter, I began searching the records
                                                5
associated with the aforementioned Google and Apple iCloud accounts for evidence, fruits, and

instrumentalities of violations of 18 U.S.C. § 2422 (coercion and enticement) and 18 U.S.C. §

2252(A)(a)(5)(B) (possession of child pornography). Due to the locked state of the electronic

devices, most of the devices, including the Apple iPhone 14 Pro Max, were still unable to be

extracted and examined immediately after the execution of the search warrant for the devices.

           11.      During my review of the records associated with the aforementioned Google

accounts, I located images which appeared to be screen captures taken within the Telegram2

application. One image (“Image File 5”) appeared to depict a Telegram group called “All boys

preview.” The group had three members: Austin Watts, cooliecut, and Shila. Of the three members,

Austin Watts and Shila were online. Additionally, Austin Watts was marked with a star, which

appeared to indicate that the individual taking the screen capture was member Austin Watts. Exif

data revealed this screen capture was taken on August 23, 2023 with an Apple iPhone. Another

image (“Image File 6”) appeared to be a screen capture of a conversation in a Telegram group

entitled “hmu For links.” In the chat, there were approximately 50 thumbnail images depicting

individuals engaged in sexually explicit conduct. Some of the individuals engaged in sexually

explicit conduct appeared to be prepubescent or pubescent children. Each thumbnail had a

timestamp in the bottom left corner, indicating the thumbnails were of videos. Exif data revealed

this screen capture was also taken on August 23, 2023 with an Apple iPhone.

           12.      On June 27, 2024, I began my review of the files provided by Apple for the Apple

iCloud account with Apple ID deccoy27@yahoo.com. During my review, I observed several

media files depicting teenage males of indeterminate ages engaged in sexually explicit conduct.



2
    Telegram is an instant messaging application which allows users to send media and files to one another.

                                                           6
The filenames of some of these video files began with “cm-chat-media-video,”3 to include one of

the video files (“Video File 7”). This video file appeared to be the same as Video File 2 which

depicted a teenage male of an indeterminate age in what appears to be a bedroom with decorative

lights on the walls. The male is naked from the waist down, bent over a bed, with his anus, scrotum,

and penis exposed, masturbating his erect penis. Also located in the files provided by Apple were

an additional 18 videos files, all of which began with “cm-chat-media-video-[redacted]”, that

appeared to depict the same teenage male as Video File 7. The creation dates of these files ranged

from December 14, 2023 through March 23, 2024.

        13.      Further investigation resulted in the identification of the teenage male in Video File

7 as Minor Victim 1. On or about July 16, 2024, Minor Victim 1 was forensically interviewed and

stated the following:

                 a.       Minor Victim 1 knew an adult male through Snapchat who offered Minor

Victim 1 money for inappropriate pictures, chats, and videos.

                 b.       Minor Victim 1 began sending the adult male content of himself when he

was 15 years old. Minor Victim 1 told the adult male his age.

                 c.       The adult male paid Minor Victim 1 five to fifty dollars in exchange for

content. Minor Victim 1 received the money on CashApp.

                 d.       The adult male would tell Minor Victim 1 what to put in a picture or video.




3
  On July 8, 2024, Snap, Inc. advised me that the filenames of videos saved from a Chat conversation within the
Snapchat application begin with “cm-chat-media-video.” Based on this information, I believe DARIEN received the
video files located in his Apple iCloud accounts that begin with “cm-chat-media-video” from individuals with whom
he chatted in the Snapchat application. I believe the same about the video files located in DARIEN’s Google accounts
that begin with “cm-chat-media-video.” Further, some of the individuals in these videos appear to be teenage males.

                                                         7
              e.      Minor Victim 1 had DARIEN’s telephone number, xxx-xxx-3868, saved in

his phone. Minor Victim 1 identified DARIEN’s telephone number as the adult male with whom

he communicated on Snapchat.

              f.      Minor Victim 1 identified his Snapchat account (“MV 1 – Account 1”).

              g.      Minor Victim 1 identified himself in screen captures from several of the

videos found in the files provided by Apple.

       14.    Following Minor Victim 1’s interview, Minor Victim 1’s mother gave me consent

to search Minor Victim 1’s phone. The search of this phone revealed that Minor Victim 1 received

a Snapchat message from DARIEN using Snapchat account creamewet as recently as July 13,

2024, three days prior to Minor Victim 1’s interview.

       15.    On August 13, 2024, pursuant to a federal subpoena, Block, Inc. provided

transaction history for the accounts of Minor Victim 1 and DARIEN. The records provided by

Block, Inc. indicated DARIEN paid Minor Victim 1 nine times from December 14, 2023 through

March 23, 2024. This date range is the same range as the creation dates of the 19 video files of

Minor Victim 1 that were located in DARIEN’s Apple iCloud. The payment amounts ranged from

one dollar to 50 dollars. DARIEN wrote subjects for three of the payments: “it’s me from snap

my b”, “txt back”, and “text back”.

       16.    During my review of the files provided by Apple for the Apple iCloud account with

Apple ID ddarien522@gmail.com, I located messages DARIEN saved to his iCloud. During my

review of these messages, I located messages sent from November 7, 2023 to January 4, 2024

which were exchanged between DARIEN and Minor Victim 2. These messages included the

messages depicted in that screen capture. Throughout these messages, DARIEN identified himself

as “Zay” and requested that Minor Victim 2 send him videos on an unidentified app; Minor Victim

                                               8
2 identified himself as a freshman in high school; and DARIEN identified his Snapchat account

as blaze4013.

        17.      On or about August 21, 2024, Minor Victim 2 was forensically interviewed and

stated the following:

                 a.       Minor Victim 2 recalled an adult male with whom he chatted online

purchasing a pocket pussy4 for him. However, Minor Victim 2 never received the pocket pussy

because the adult male would only give it to Minor Victim 2 if they met in person.

                 b.       Minor Victim 2 told the adult male he was 14 or 15 years old.

                 c.       Minor Victim 2 took and sent the adult male a photo of his buttocks.

                 d.       Minor Victim 2 identified his telephone number as “Minor Victim 2 Phone

Number”.

        18.      During my review of the Apple iCloud files, I located messages between DARIEN

and “Minor Victim 3 Phone Number” from January 14. 2024 through March 3, 2024. The user of

Minor Victim 3 Phone Number identified himself as 17 years old and provided his Snapchat

account as kimsuva22. Throughout their conversation, they discussed meeting for sex. DARIEN

also requested videos from the user of Minor Victim 3 Phone Number. Further investigation

resulted in the identification of the user of Minor Victim 3 Phone Number as Minor Victim 3.

Minor Victim 3 declined to be interviewed.

        19.      On June 20, 2024, an order pursuant to 18 U.S.C. § 2703(d) issued by the Honorable

Adam Abelson, United States Magistrate Judge, was served upon Snap, Inc. requesting records




4
 A “pocket pussy” is a term commonly used to refer to a sex toy used by males to facilitate masturbation of their
penis.

                                                         9
associated to the Snapchat account with username zaymajor22. Records provided by Snap, Inc.

pursuant to this order revealed the account was active. The display name on the account was

“Xavier Major.” The verified telephone number associated to the account was DARIEN’s

telephone number, xxx-xxx-3868. The telephone number was verified on March 9, 2024, two days

after BCPD executed the search warrants upon DARIEN’s residence and his vehicle. The

birthdate associated to the account was May XX, 1992, which is DARIEN’s birthday. Associated

with this account were two other Snapchat accounts: blaze4013 and creamewet.

           20.      The records provided by Snap, Inc. pursuant to this order also revealed that the user

of the Snapchat account with username zaymajor22 first logged into the account on an Apple

iPhone with device ID 3803248143025720000 on November 22, 2022.5 Two additional Snapchat

accounts, one with username blaze4013 and another with username creamewet, were first logged

into on the same Apple iPhone on October 24, 2022 and November 25, 2022, respectively. The

records further revealed that all three accounts were first logged into on a different Apple iPhone

beginning in the afternoon on March 7, 2024.6 The account with username creamewet was first

logged into on an Apple iPhone with device ID 6293917957671470000 on March 7, 2024 at

approximately 4:17 pm. The accounts with usernames zaymajor22 and blaze4013 were first logged

into on the same Apple iPhone on March 9, 2024 at 12:17 pm and 12:30 pm, respectively.

           21.      Records provided by Snap, Inc. pursuant to a federal subpoena revealed the display

name for the Snapchat account with username blaze4013 was “Austin Watts.” The name “Austin




5
    A device ID is an identifier Snapchat generates to identify devices.
6
 In the morning of March 7, 2024, BCPD seized two Apple iPhones, to include an Apple iPhone 14 Pro Max, from
DARIEN’s residence.

                                                            10
Watts” was the same name in the Telegram screen captures from DARIEN’s Google accounts.

The verified email address associated to the Snapchat account with username blaze4013 was

xaviermajor@rocketmail.com. Snap, Inc. also provided records pertaining to the Snapchat account

with username creamewet. The display name associated with this account was “Xavier West”, and

the verified email address was dazhon2@aol.com. DARIEN also used the first name “Xavier” for

his Snapchat account with username zaymajor22.

       22.     On July 25, 2024, the Honorable Adam Abelson, United States Magistrate Judge

for the District of Maryland, issued a search warrant for the Snapchat accounts with usernames

zaymajor22, blaze4013, and creamewet. A review of the files provided by Snapchat for the account

blaze4013 revealed the following.

               a.     I located six images and one video sent by a Snapchat account used by

Minor Victim 1 (“MV 1 – Account 2”), to DARIEN. These images and video were dated July 30,

2023. The video was nine seconds in length and depicted a teenage male on his knees, nude from

the waist down, exposing his penis and anus.

               b.     I located six images sent by a Snapchat account used by Minor Victim 4

(“MV 4”), to DARIEN. These images depicted a teenage male nude with either his penis or both

his penis and anus exposed. I also located a video approximately ten seconds in length depicting a

nude teenage male bent over, exposing his penis and anus. Throughout the video, the teenage male

slaps or spreads apart his buttocks. The images and video sent by Minor Victim 4 were dated April

10, 2024. On December 2, 2024, I met with Minor Victim 4, who is now an adult. Minor Victim

4 identified himself in some of the images located in the Snapchat return. Minor Victim 4 recalled

meeting an adult male he knew as “Xavier” at a hotel in Capitol Heights, Maryland, to engage in



                                               11
sexual activity on April 13, 2024, while Minor Victim 4 was still under the age of 18. According

to Minor Victim 4, the adult male purchased an Uber ride for Minor Victim 4 to get to the hotel.

              c.      I located the following chat messages from October 30, 2023 between

DARIEN and Snapchat account used by Minor Victim 5 (“MV 5”).

                      blaze4013:     Wasup

                      MV 5:          Wsp

                      blaze4013:     Shit

                      MV 5:          Oh Ohrd

                      MV 5:          Nd I meant to tell u if u wanna link it’s either pay or lemme

                                     record

                      blaze4013:     How much you gonna let me eat it before you ride my dick?

                      MV 5:          Wym ride ur dick?

                      blaze4013:     Or you like backshots better

                      MV 5:          Oh no I’m not taking dick

                      MV 5:          U

                      MV 5:          Nd u ain’t answer my question we recording or are u paying

                      blaze4013:     I’m not a bottom. If I’m paying I’m clapping cheeks you

                                     record if you wanna suck me up and let me eat you

                      MV 5:          See ur obviously a top I’m not feeling it

       23.    A review of the files provided by Snapchat for the account creamewet revealed the

following.

              a.      I located two images and one video sent by MV 1 to DARIEN. The images

and video were dated June 28, 2024. The two images depicted an age difficult male digitally

                                               12
penetrating his anus. The video was approximately 15 seconds in length and depicted an age

difficult male digitally penetrating his anus.

               b.      I located one image and one video sent by a Snapchat user identified as

Minor Victim 5 to DARIEN. The image and video were dated January 31, 2024. The image

depicted a teenage male nude from the waist down, exposing the teenage male’s penis. The video

was approximately 14 seconds in length and depicted a teenage male nude from the waist down.

In the video, the teenage male lifts up his hoodie and turns so that his buttocks is facing the camera.

The teenage male touches his buttocks with one hand and points his penis towards the camera with

his other hand. The teenage male then pulls up what appear to be flannel pajama pants.

       24.     Located within both the Snapchat accounts with usernames blaze4013 and

creamewet were additional images and videos of what appeared to be teenage males of

indeterminate ages engaged in sexually explicit conduct. These images and videos were sent from

approximately ten different Snapchat users to DARIEN. The identification of each of the Snapchat

users is still pending. Two of these videos are described below:

               a.      “Video File 8” is 7 seconds in duration and depicts what appears to be a

teenage male of an indeterminate age wearing only pants. The teenage male pulls down his pants,

fully exposing his penis. The teenage male then moves his hips to shake his penis. The teenage

male’s face is partially seen throughout the video.

               b.      “Video File 9” is 1 minute and 6 seconds in duration and depicts what

appears to be an age-difficult male anally penetrating a teenage male of an indeterminate age. The

age-difficult male is standing while the teenage male is laying on his stomach on a bed. Throughout

the video, the age-difficult male is holding the camera and alternates the camera view between

capturing both males in a mirror and pointing down at the teenage male’s body.

                                                  13
         25.     A review of the files provided by Snapchat for the account zaymajor22 revealed no

sexually explicit images or videos saved within the account.

         26.     On or about November 27, 2024, FBI Special Agent Patrick Fong was able to

successfully extract the data from the Apple iPhone 14 Pro Max initially seized during BCPD’s

search warrant execution at DARIEN’s residence in March of 2024.7 On or about December 5,

2024, I began reviewing the contents of the Apple iPhone. Upon review of the contents of the

Apple iPhone, I located the 19 video files, the titles of which all began with the “cm-chat-media-

video-[redacted]”, depicting Minor Victim 1 engaged in sexually explicit conduct. These videos

were the same videos as those found in the Apple iCloud search warrant return for Apple ID

deccoy27@yahoo.com, to include Video File 7 which depicted a teenage male of an indeterminate

age in what appears to be a bedroom with decorative lights on the walls. The male is naked from

the waist down, bent over a bed, with his anus, scrotum, and penis exposed, masturbating his erect

penis.

         27.     During my review of the Apple iPhone, I also located at least 20 additional videos

depicting children engaged in sexually explicit conduct, to include prepubescent children.

Descriptions of two of these videos are below:

                 a.       Video File 10 is a color video approximately 9 seconds in length and depicts

a prepubescent female child lying on her back with her arms spread to each side. The child is

pictured from above her breast line to her head and is not wearing any clothing. An adult male’s

erect penis is visible above the child. The adult male ejaculates on the child’s face and into the



7
  As previously noted, this Apple iPhone could not be extracted upon initial seizure and execution of the search
warrants discussed in paragraphs 5 and 10 because the phone was locked. Since that time, the FBI has continued to
attempt to access the Apple iPhone using forensic tools.

                                                       14
child’s nose, eye, and mouth. The child has child-like facial features and a child-sized head and

body relative to the size of the adult male’s erect penis.

               b.      Video File 11 is a color video with audio approximately 5 minutes and 51

seconds in length and depicts a nude prepubescent male child lying on his stomach on a bed. The

child appears to be sleeping. The child’s legs are spread, exposing his genitalia, which appear to

be the focal point of the video. As the video begins, a nude adult male lies down on the bed next

to the child and begins rubbing his erect penis and fingers against the child’s anus. The adult male

then anally penetrates the child with his penis. At approximately 1 minute and 56 seconds into the

video, the child slightly moves, then the adult male returns to anally penetrating the child. At

approximately 2 minutes and 6 seconds into the video, the video freezes and remains frozen for

the remainder of the video.

       28.     I also located a Telegram account with the name “Lamont Bishop”, username

“Xaviermajor”, and telephone number xxx-xxx-3868 on the iPhone. This Telegram account was a

participant in several Telegram group conversations, to include conversations with the following

participants: “gay boys videos teen”, “T33ns Gays”, “Teen Boys Penis”.

                                 AUTHORIZATION REQUEST

       29.     Based on the information provided above, I submit there is probable cause to

believe DARIEN has committed violations of 18 U.S.C. § 2251(a) and (e) (sexual exploitation of

children) and 18 U.S.C. § 2252A(a)(2) (receipt of child pornography). Specifically, DARIEN

knowingly received and possessed child pornography knowing it was transported in and affecting

interstate commerce.




                                                 15
                                                Respectfully
                                                   p       y submitted,,



                                                Special Agent Grace Meyer
                                                Federal Bureau of Investigation

       Affidavit submitted by email and attested to me as true and accurate by telephone

                                                       27th
consistent with Fed. R. Crim. P. 4.1 and 41(d)(3) this __________day of January 2025.



                                                   ________________________________
                                                    ___
                                                     _ __
                                                     __ ____________________________
                                                                                  _______
                                                   The
                                                    he Hon
                                                       Hon. Erin Aslan
                                                   United States Magistrate Judge
                                                                              d




                                              16
